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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA
                                 NEW ORLEANS DIVISION

IN RE: KATRINA CANAL BREACHES             *                  CIVIL ACTION
CONSOLIDATED LITIGATION                   *                  NO. 05-4182 “K”(2)
                                          *                  JUDGE DUVAL
_________________________________________ *                  MAG. WILKINSON
                                          *
PERTAINS TO:                              *
ST. RITA (Kenney) 06-7355                 *
                                          *
_________________________________________ *


       REPLY TO PLAINTIFF’S OPPOSITION TO THIRD-PARTY DEFENDANT
    LAKE BORGNE BASIN LEVEE DISTRICT’S RULE 12(B)(6) MOTION TO DISMISS

MAY IT PLEASE THE COURT:

        On November 7, 2006, Third-Party Defendant, Lake Borgne Basin Levee District

(“LBBLD”), filed a Rule 12(b)(6) Motion to Dismiss for failure to state a claim upon which

relief can be granted asserting that Third-Party Plaintiff, Buffman, Inc., a Louisiana Business

Corporation d/b/a St. Rita’s Nursing Home (“St. Rita’s”) has failed to state a claim against

LBBLD inasmuch as Louisiana law no longer recognizes a cause of action for tort indemnity or

contribution under the facts pled.1 On November 21, 2006, St. Rita’s submitted a Memorandum

in Opposition to the Motion, suggesting that although the right of contribution no longer existed,

the right to indemnity among alleged co-tortfeasors still exists.2 LBBLD respectfully submits

this Reply Memorandum to address the erroneous arguments of St. Rita’s.




1
        See Rec. Doc. No. 1620.
2
        See Rec. Doc. No. 1780.
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       A.      Tort Indemnity

       In the Memorandum in Opposition to Motion to Dismiss, St. Rita’s exhaustively

discusses the Louisiana Supreme Court decision of Dumas vs. State of Louisiana through

Department of Culture, Recreation, and Tourism, a decision regarding the 1996 legislative

amendments to Louisiana Civil Code articles 2323 and 2324. 3 Additionally, St. Rita’s cites

numerous cases acknowledging the holding in Dumas, that “Louisiana had not entirely

eliminated tort indemnity and contribution.” 4 However, despite the fact that it is discussed in

nearly every case cited in Third-Party memorandum, at no point does plaintiff mention that the

doctrine of tort indemnity hinges upon an examination of the nature of the Third-Party Plaintiff’s

alleged fault.5 LBBLD respectfully submits that Third-Party Plaintiff’s claims fail under such an

examination and, therefore, LBBLD’s Motion to Dismiss must be granted.

       In determining whether Third-Party Plaintiff’s claim for tort indemnity is valid, the Court

need look no further than the very cases cited by Third-Party Plaintiff. For example, in Lombard

v. New Orleans Naval Support Activity, the United States District Court for the Eastern District

of Louisiana recently addressed this very issue under remarkably similar procedural facts.6 In

Lombard, plaintiffs filed a claim against several defendants after a young man was killed when a




3
       828 So.2d 530 (La. 2002).
4
       See Rec. Doc. No. 1780, at pp. 4-5.

5
       Lombard v. New Orleans Naval Support Activity, Nos. 03-3020 and 04-2296, 2004 WL 2988483 (E.D.La.
       12/10/04), attached hereto as Exhibit “A.”
6
       See Exhibit “A.”
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forklift he was operating rolled over and crushed him.7 A subcontractor, Goodworks, was

allegedly liable for negligently causing or contributing to the decedent’s death.8 Specifically, the

plaintiffs sought to hold Goodworks liable for its own affirmative negligent conduct in failing to

remove the keys from the forklift, and its own failure to properly train its employees and its own

violation of safety regulations.9 Thereafter, Goodworks filed a third party complaint against the

United States alleging that the United States was liable for causing and/or failing to prevent the

alleged accident which caused the decedent’s death, and asserting claims against the United

States for contribution and indemnity.10 The third party defendant filed a Rule 12(b) Motion to

Dismiss the third party claims, arguing that Goodworks’ claims for contribution and indemnity

could not be sustained pursuant to Louisiana law.11 Contrarily, Goodworks argued that its claim

for tort indemnity is permitted under Louisiana law, and only the right of contribution was

abolished.12

        Beginning its analysis of whether of Goodworks’ third party demand was viable, the

Court concisely instructed:

                  The right to indemnity does not exist in favor of a joint tortfeasor
                  whose act or failure in the performance of duty was a contributory
                  cause of an injury, and there is no right to indemnity when the
                  liability of the party seeking it cannot be regarded as technical,
                  vicarious, constructive or derivative….Because a claim for tort

7
        Lombard, at p. 1.
8
        Id.
9
        Id. at p. 8.
10
        Id. at p. 1.
11
        Id. at pp. 2-3.
12
        Id. at p. 3.
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                 indemnity is based upon indemnitee’s constructive or technical
                 liability, “[s]crutiny is thus directed at the nature, not the quantum,
                 of the fault, if any, of the party seeking indemnity.”…If the fault of
                 the party seeking indemnity “can be characterized as merely
                 technical or constructive, the action for indemnity may lie.”…On
                 the other hand, if the nature of the fault alleged against the
                 indemnitee is actual or active fault, an action for tort
                 indemnity cannot be sustained. See id.; see also Threlkeld, 922
                 F.2d at 267 (holding that defendant cannot seek tort immunity
                 against a third party for tort immunity when a plaintiff seeks to
                 recover from a defendant for the latter’s affirmative
                 negligence)…13

        The Court further instructed:

                 If the facts alleged by a plaintiff against a party seeking indemnity
                 do not show that a defendant’s liability could be predicated upon
                 mere constructive or derivative fault, such defendant cannot state a
                 cause of action for indemnity….If the allegations in a third-party
                 complaint for indemnity could be read only as charging either
                 concurrent fault or faults constituting an intervening or
                 superseding cause of the injured party’s damage, such
                 allegations would not support a claim for indemnity.14

        In further clarification, the Court provided several common examples of technical or

passive fault recognized by Louisiana courts as giving rise to a claim for tort indemnity. The

Court noted:

                 In Louisiana, the prototypical indemnity action is the surety’s
                 demand for reimbursement from the primary debtor for funds paid
                 by the surety to the creditor upon default….A second example is
                 an action based on vicarious liability when an employer who has
                 incurred liability pursuant to principles of respondeat superior has
                 the right of indemnity against its employee whose fault caused the
                 plaintiff’s damage….Another common form of “passive” fault is
                 when the owner of a building is held liable for a “vice” in the



13
        Lombard, at p. 7 (internal citations and footnote omitted) (emphasis added).
14
        Id. (emphasis added).
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                  building which causes injury solely on the ground that the owner
                  failed to discover the dangerous condition.15

        Thus, in preparation of examining the claims before it, the Court noted that other courts

have dismissed claims for tort indemnity when the liability of the would-be indemnitee is not

based upon either theory of vicarious or strict liability that would compel such party to pay a

judgment based upon another party’s fault but the claim is, instead, based only upon the would-

be indemnitee’s active negligent conduct.16

        Examining the claims before it, the Court noted that the plaintiffs alleged that Goodworks

was negligent by leaving keys in the forklift, failing to adopt a minimum safety standards in the

maintenance and operation of the forklifts under their custody and control, violating OSHA

safety regulations, failing to properly train its employees in the use of the forklift, failing to

instruct its employees with respect OSHA safety regulations, and failing to instruct its employees

to never leave the keys in an unattended forklift.17 The Court also noted that Goodworks’ third-

party complaint against the United States alleged that the United States was negligent by failing

to adopt a minimum safety standards for the operation of forklifts, failing to train its employees

in the proper maintenance of operation of forklifts, permitting an obvious and unreasonably

dangerous condition to exist, failing to remedy an obvious and unreasonably dangerous condition

and/or warn of such a condition, and permitting unsupervised minors onto the premises.

Accepting the facts as alleged in the pleadings as true, the Court concluded that there was no



15
        Lombard, at p. 7 n. 17 (citations omitted).
16
        Id. at p. 8 (citation omitted).
17
        Id. at p. 9.
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basis for Goodworks’ claim for tort immunity, and, therefore, comparative fault principles

govern the case.18 The Court explained:

                  As in Carter, there is no claim against Goodworks based on a
                  theory of vicarious or strict liability; the claim against Goodworks
                  is for simple negligence….The plaintiffs’ claims against
                  Goodworks are not premised upon imposing “solely constructive
                  or derivative” liability on Goodworks….Goodworks’ potential
                  liability is not premised on any theory of respondeat superior or
                  strict liability based upon the mere custody of dangerous
                  instrumentality which would expose Goodworks to legal liability
                  in the absence of actual fault….Instead, plaintiffs seek to hold
                  Goodworks liable for their own affirmative negligent conduct in
                  failing to remove the keys from the forklift and, inter alia, its own
                  failure to properly train its employees in its own violation of safety
                  regulations. As in Threlkeld, “this recovery is not sought on
                  technical, constructive, or vicarious liability.”19

        Thus, the court ultimately concluded:

                  Goodworks’ liability, if any, would be based upon a direct and
                  primary negligence and, therefore, in the event that Goodworks
                  was found liability to plaintiffs, Goodworks would not be entitled
                  to tort immunity because “[i]ndemnity is not available to a party
                  who is actually negligent.”20

        Additionally, the Court instructed that the actual allegations in Goodworks’ third-party

complaint did not support a claim for tort indemnity. The Court noted that the allegations in the

third party complaint alleged that the third-party defendant was concurrently at fault. Noting this

admission by the third-party plaintiff, the Court instructed:

                  Additionally, Goodworks’ allegation of its potential concurrent
                  negligence also precludes a claim for tort indemnity because


18
        Id. at p. 9.
19
        Id. at p. 9 (citations omitted).
20
        Id. at p. 10 (citation omitted).
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                 the right to indemnity does not exist in favor of joint tortfeasor
                 whose act or failure was a contributory cause of an injury.21

        Thus, the Court concluded that there was no basis for Goodworks’ claim for tort

immunity, and the 12(b) Motion was granted.

        Like the third party plaintiff in Lombard, St. Rita’s liability here would be based upon its

direct and primary negligence and, therefore, in the event that St. Rita’s is found liable to

Plaintiffs, St. Rita’s would not be entitled to tort immunity. Plaintiffs’ Petition for Damages and

Damages for Wrongful Death alleges that St. Rita’s chose not to evacuate the decedent despite

knowing the severity of the current and future weather conditions.22 The Plaintiffs specifically

allege that St. Rita’s was negligent in failing to property evacuate the nursing home residents to

an adequate shelter to survive the storm; failure to render emergency care and/or failure to render

adequate and timely emergency care, including, but not limited to, emergency rescue and CPR;

failure to act in a reasonable and prudent manner under the circumstances; and failure to act in

accordance with its own policies and procedures.23 On the other hand, St. Rita’s third party

demand alleges that LBBLD failed to discharge statutorily mandated responsibilities as respects

flood control and maintenance of levitees, and such failure caused and/or contributed to the

damages alleged by Plaintiffs and for which [St. Rita’s] denies liability.24 The Third-Party

Demand continues by alleging that pursuant to Articles 2315 and 2317 of the Louisiana Civil



21
        Lombard, at para. 11.
22
        Rec. Doc. No. 1, Attachment No. 1, at p. 26, at para. 6.
23
        Rec. Doc. No. 1, Attachment No. 1, at pp. 26-27, at para. 10.
24
        Rec. Doc. No. 1, Attachment No. 1, at p. 6, at para. XXI.
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Code, the Lake Borgne Basin Levee District is liable to third party plaintiff by way of indemnity

or contribution in tort should third party plaintiff be cast in judgment herein.25

        A plain reading of the foregoing allegations mandates that St. Rita’s is unable to maintain

a tort immunity claim here. Plaintiffs allege direct negligence on the part of St. Rita’s,

independent of any actions related to LBBLD. This is precisely the type of situation wherein the

United District Court for the Eastern District has held that a claim for tort immunity does not lie.

St. Rita’s liability, if any, is based upon its direct and primary negligence. Therefore, in the

event that St. Rita’s is found liable to Plaintiffs, St. Rita’s would not be entitled to tort immunity

because indemnity is not available to a party who is actually negligent. Likewise, St. Rita’s

assertion that LBBLD’s alleged failure to discharge a statutorily mandated responsibilities

“contributed” to the damages alleged by the Plaintiffs on its face precludes a claim for tort

indemnity because the right to indemnity does not exist in favor of a joint tortfeasor whose act or

failure was a contributory cause of an injury. Thus, again, St. Rita’s liability is not based upon

any theory of constructive, technical or vicarious fault. Therefore, St. Rita’s would not be

answerable to Plaintiffs in damages for the fault of LBBLD. Under such circumstances, St.

Rita’s has failed to state a cause of action against LBBLD, and LBBLD’s Motion to Dismiss

should be granted.

        WHEREFORE, Third-Party Defendant, LBBLD, respectfully requests that this

Honorable Court dismiss LBBLD with prejudice from St. Rita’s Third-Party Demand inasmuch




25
        Rec. Doc. No. 1, Attachment No. 1, at p. 6, at para. XXI.
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as the Third-Party Demand fails to state a claim upon which relief can be granted against

LBBLD.

                                              Respectfully submitted,

                                              DUPLASS, ZWAIN, BOURGEOIS, MORTON,
                                              PFISTER & WEINSTOCK

                                              s/ Lawrence J. Duplass

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of November, 2006, a copy of the foregoing Rule

12(b)(6) Motion to Dismiss for Failure to State a Claim Upon Which Relief Can Be Granted was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

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